        Case 1:22-cv-11678-IT Document 9 Filed 01/13/23 Page 1 of 9




                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
EDWIN ALEMANY                       )
                                    )
                     Petitioner,    )
                                    )               C.A. No. 1:22-cv-11678-IT
                     v.             )
                                    )
STEPHEN KENNEDY, Superintendent     )
Old Colony Correctional Center,     )
                                    )
                     Respondent.    )
____________________________________)

        RESPONDENT’S ANSWER TO THE PETITIONER’S PETITION
                 FOR A WRIT OF HABEAS CORPUS

       Pursuant to Rule 5 of the Rules Governing Section 2254 Cases in the United

States District Courts, the respondent, Stephen Kennedy, hereby answers the petition for

a writ of habeas corpus filed by the petitioner, Edwin Alemany.

       1.(a).         Admitted.

       1.(b).         Admitted.

       2.(a).         Admitted.

       2.(b).         Admitted.

       3.             Denied. The petitioner was sentenced to life for a conviction of

                      murder; a ten to fifteen year sentence for attempted murder to run

                      on and after the murder sentence; and a fourteen to fifteen year

                      sentence for assault and battery by means of a dangerous weapon

                      to run on and after the attempted murder sentence. Sentences for

                      other convictions for kidnapping, using intimidation to steal from a




                                            1
Case 1:22-cv-11678-IT Document 9 Filed 01/13/23 Page 2 of 9




           depository, armed robbery, assault with intent to rob, burning

           personal property, and assault and battery were concurrent with the

           murder sentence.

4.         Denied. The petitioner was convicted of murder, in violation of G.

           L. c. 265, § 1; kidnapping, in violation of G.L. c. 265, § 26;

           carjacking, in violation of G. L. c. 265, § 21A; stealing by

           confining or putting in fear, in violation of G. L. c. 265, § 21; four

           counts of armed robbery, in violation of G. L. c. 265, § 17; armed

           robbery while masked, in violation of G. L. c. 265, § 17; assault

           with intent to rob, in violation of G. L. c. 265, § 18; burning wood

           and other property, in violation of G. L. c. 266, § 5; two counts of

           attempted murder, in violation G. L. c. 265, § 16; three counts of

           assault and battery, in violation G. L. c. 265, § 13A; assault and

           battery with a dangerous weapon resulting in serious bodily injury,

           in violation G. L. c. 265, § 15A; assault with intent to murder

           while armed, in violation of G. L. c. 265, § 18(b); and robbery, in

           violation of G. L. c. 265, § 19.

5.         Denied. The petitioner was convicted of murder, in violation of G.

           L. c. 265, § 1; kidnapping, in violation of G.L. c. 265, § 26;

           carjacking, in violation of G. L. c. 265, § 21A; stealing by

           confining or putting in fear, in violation of G. L. c. 265, § 21; four

           counts of armed robbery, in violation of G. L. c. 265, § 17; armed

           robbery while masked, in violation of G. L. c. 265, § 17; assault




                                  2
Case 1:22-cv-11678-IT Document 9 Filed 01/13/23 Page 3 of 9




           with intent to rob, in violation of G. L. c. 265, § 18; burning wood

           and other property, in violation of G. L. c. 266, § 5; two counts of

           attempted murder, in violation G. L. c. 265, § 16; three counts of

           assault and battery, in violation G. L. c. 265, § 13A; assault and

           battery with a dangerous weapon resulting in serious bodily injury,

           in violation G. L. c. 265, § 15A; assault with intent to murder

           while armed, in violation of G. L. c. 265, § 18(b); and robbery, in

           violation of G. L. c. 265, § 19.

6.(a).     Admitted.

6.(b).     Left blank by the petitioner.

6.(c).     Admitted.

7.         Admitted.

8.         Admitted.

9.(a).     Admitted.

9.(b).     Admitted.

9.(c).     Admitted.

9.(d).     Admitted.

9.(e).     Admitted.

9.(f)      The grounds for the petitioner’s appeal were set forth in his brief,

           which was filed in the Supreme Judicial Court, and speak for

           themselves. To the extent the petitioner’s summary of those

           grounds differs from his actual filings, the respondent denies his

           allegations.




                                  3
Case 1:22-cv-11678-IT Document 9 Filed 01/13/23 Page 4 of 9




9.(g).     Admitted.

9.(h).     Admitted.

10.        Denied. The petitioner filed a Motion for New Trial and Request

           for Hearing in the Supreme Judicial Court which the Supreme

           Judicial Court remanded to the Suffolk Superior Court on January

           7, 2019. The Superior Court denied the Motion for New Trial and

           Request for Hearing on March 8, 2019.

11.        Left blank by the petitioner.

12. GROUND ONE:

(a).       The respondent states that paragraph 12 of the petition contains

           legal arguments and conclusions of law to which no response is

           required. To the extent that a response is deemed necessary, the

           respondent denies the factual allegations contained in paragraph

           twelve of the petition insofar as they are inconsistent with the

           state-court record, or are inconsistent with the facts found by the

           Supreme Judicial Court in Commonwealth v. Alemany, 488 Mass.

           499 (2021), and/or by the Suffolk Superior Court during the trial

           and litigation of Commonwealth v. Alemany, No. 1384-CR-11163.

(b).       Left blank by the petitioner.

(c).       The respondent denies that a federal constitutional claim

           coextensive with the claim set forth in Ground One was presented

           to the state courts.

(d).(1).   Admitted.




                                  4
Case 1:22-cv-11678-IT Document 9 Filed 01/13/23 Page 5 of 9




(d).(2).   Admitted.

(d).(3).   Admitted.

(d).(4).   Admitted.

(d).(5).   The respondent denies that a federal constitutional claim

           coextensive with the claim set forth in Ground One was presented

           to the state courts.

(d).(6).   Admitted.

(d).(7).   Left blank by the petitioner.

(e).       Left blank by the petitioner.

GROUND TWO:

(a).       The respondent states that paragraph 12 of the petition contains

           legal arguments and conclusions of law to which no response is

           required. To the extent that a response is deemed necessary, the

           respondent denies the factual allegations contained in paragraph

           twelve of the petition insofar as they are inconsistent with the

           state-court record, or are inconsistent with the facts found by the

           Supreme Judicial Court in Commonwealth v. Alemany, 488 Mass.

           499 (2021), and/or by the Suffolk Superior Court during the trial

           and litigation of Commonwealth v. Alemany, No. 1384-CR-11163.

(b).       Left blank by the petitioner.

(c).       The respondent denies that a federal constitutional claim

           coextensive with the claim set forth in Ground Two was presented

           to the state courts.




                                  5
Case 1:22-cv-11678-IT Document 9 Filed 01/13/23 Page 6 of 9




(d).(1).          Admitted.

(d).(2).          Left blank by the petitioner.

(d).(3).          Left blank by the petitioner.

(d).(4).          Left blank by the petitioner.

(d).(5).          Left blank by the petitioner.

(d).(6).          Left blank by the petitioner.

(d).(7).          Left blank by the petitioner.

(e).              Left blank by the petitioner.

GROUND THREE:

           Left blank by the petitioner.

GROUND FOUR:

           Left blank by the petitioner.

13.(a).           Denied.

13.(b).           Denied.

14.               The respondent lacks knowledge or information sufficient to form

                  a belief as to the truth of these allegations.

15.               The respondent lacks knowledge or information sufficient to form

                  a belief as to the truth of these allegations.

16.(a)-(b).       The respondent lacks knowledge or information sufficient to form

                  a belief as to the truth of these allegations.

16.(c)-(g).       Admitted.

17.               The respondent lacks knowledge or information sufficient to form

                  a belief as to the truth of these allegations.




                                           6
        Case 1:22-cv-11678-IT Document 9 Filed 01/13/23 Page 7 of 9




       18.             Paragraph eighteen states a conclusion of law to which no response

                       is required.

       Pursuant to Rule 5(b) of the Rules Governing Section 2254 Cases in the United

States District Courts, the respondent states that the petitioner’s action is defective for the

reasons stated in the Affirmative Defenses listed below. The information and/or

materials required by Rules 5(c) and 5(d), and this Court’s order of October 24, 2022, are

contained in the respondent’s Supplemental Answer, which is being filed concurrently

with this Answer.

                                 First Affirmative Defense

       The state court’s adjudication of the petitioner’s claims was not contrary to or an

unreasonable application of clearly-established Supreme Court law; nor was it based

upon an unreasonable determination of facts in light of the evidence presented in the

state-court proceedings. See 28 U.S.C. § 2254(d).

                               Second Affirmative Defense

       The petitioner cannot rebut the presumption of correctness accorded to the state

court’s factual determinations underlying his claims. See 28 U.S.C. § 2254(e)(1).

                                Third Affirmative Defense

       The petition should be denied to the extent that the decision of the state court

below rests on a state-law ground that is both independent of the federal questions the

petitioner presents here and adequate to support the judgment.

                                Fourth Affirmative Defense

       The petition should be dismissed to the extent it fails to state a claim upon which

habeas corpus relief may be granted.




                                               7
        Case 1:22-cv-11678-IT Document 9 Filed 01/13/23 Page 8 of 9




                                Fifth Affirmative Defense

       The petition should be dismissed to the extent one or more of its claims are

harmless under the standards set forth in Brecht v. Abrahamson, 507 U.S. 619 (1993).

                                Sixth Affirmative Defense

       The petition should be denied if and to the extent that the relief sought would

create or apply a new rule of constitutional law that cannot be applied retroactively on

collateral review.

                              Seventh Affirmative Defense

       The petition should be denied to the extent that any of its grounds for relief are

premised solely on matters of state law.

                               Eighth Affirmative Defense

       The petitioner is not in custody in violation of the Constitution, laws, or treaties of

the United States.

                               Ninth Affirmative Defense

       The petition should be denied to the extent that one or more of the petitioner’s

claims was not exhausted in the state courts.



       The respondent respectfully reserves the right to amend or supplement this

Answer and the Supplemental Answer in the future should that need arise.




                                                8
        Case 1:22-cv-11678-IT Document 9 Filed 01/13/23 Page 9 of 9




                                             Respondent,

                                             STEPHEN KENNEDY,

                                             By his Attorney,

                                             ELIZABETH N. DEWAR
                                             ACTING ATTORNEY GENERAL

                                             /s/ Jesse M. Boodoo
                                             Jesse M. Boodoo, BBO# 678471
                                             Assistant Attorney General
                                             Government Bureau/Trial Division
                                             One Ashburton Place, Room 1813
                                             Boston, MA 02108
                                             (617) 727-2200, Ext. 2592
                                             Jesse.Boodoo@mass.gov

Date: January 13, 2023


                            CERTIFICATE OF SERVICE

        I, Jesse M. Boodoo, certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants on January 13, 2023.


                                            /s/ Jesse M. Boodoo
                                           Jesse M. Boodoo




                                            9
